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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MICHAEL C. WILLIAMSON,                                )
                                                      )          No. 18CV2028
               Plaintiff,                             )
                                                      )
v.                                                    )          JUDGE
                                                      )
CHICAGO POLICE OFFICER WILFREDO                       )
ORTIZ, STAR NO. 9748, and the City of                 )
Chicago, a municipal corporation,                     )
                                                      )          Jury Demand
               Defendants.                            )

                                     COMPLAINT AT LAW

       NOW COMES the Plaintiff MICHAEL C. WILLIAMSON, by and through his attorneys

LAW OFFICES OF JEFFREY J. NESLUND; MICHAEL D. ROBBINS & ASSOCIATES; and

ROBERTSON DURIC, complaining against the Defendant, CHICAGO POLICE OFFICER

WILFREDO ORTIZ, Star No. 9748 and allege as follows:

                                        INTRODUCTION

       1.      This is an action for civil damages brought pursuant to 42 U.S.C. Sec. 1983 for

the deprivation of Plaintiffs’ constitutional rights. This Court has jurisdiction pursuant to 28

U.S.C. Sec. 1331 and 1343.

       2.      Venue in this district is proper pursuant to 28 U.S.C. sec. 1391 (b), because the

facts which give rise to the claims asserted herein occurred in the Northern District of Illinois.

                                             PARTIES

       3.      Plaintiff, MICHAEL C. WILLIAMSON, resides in the City of Chicago, County

of Cook, and State of Illinois and is a United States citizen.




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       4.       Defendant CHICAGO POLICE OFFICER WILFREDO ORTIZ, STAR NO. 9748

was at all times material to this complaint employed by the Defendant CITY OF CHICAGO, as

duly appointed and sworn police officers, and was at all times material to this complaint, acting

within their official capacity, and under color of law and their authority, as police officers,

employed by Defendant CITY OF CHICAGO.

       5.       This matter is being brought against Defendant CHICAGO POLICE OFFICER

WILFREDO ORTIZ, STAR NO. 9748, individually, in his capacity as a sworn police officer

employed by the CITY OF CHICAGO, acting under color of law.

                                    FACTUAL SUMMARY

       6.       On January 1, 2014, Plaintiff MICHAEL WILLIAMSON, an active member of

the U.S. Navy, was home on leave and was attending a family New Year’s Eve party at 144 W.

105th Street in Chicago.

       7.       During the course of the party, a man named Charles Lewis went on the back

porch of the residence at 144 w. 105th Street and fired off gunshots into the air in celebration of

the new year.

       8.       DEFENDANT CHICAGO POLICE OFFICER WILFREDO ORTIZ ran to the

back of the residence at 144 W. 105th Street in response to hearing the gunshots.

       9.       DEFENDANT ORTIZ subsequently fired 11 shots from his handgun at the rear

porch and through the open back door of the residence at 144 W. 105th Street, severely injuring

the Plaintiff, MICHAEL WILLIAMSON, as well as two of his siblings and caused a graze

wound to another.

       10.      Bullets from DEFENDANT ORTIZ’s gun also struck the screen door to the

porch, railings of the wooden porch and interior walls and kitchen cabinets.



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       11.     In an attempt to justify the shooting, DEFENDANT ORTIZ fabricated evidence

against the Plaintiff, MICHAEL WILLIAMSON, falsely claiming that the Plaintiff was in

possession of a handgun and that Plaintiff raised such handgun and pointed it at DEFENDANT

ORTIZ while Plaintiff refused Ortiz’s verbal commands to drop the gun.

       12.     DEFENDANT ORTIZ also fabricated police reports, signed false criminal

complaints and provided perjured and false testimony to prosecutors in order to have the Plaintiff

charged and prosecuted with a felony offense.

       13.     But for the fabricated evidence by DEFENDANT ORTIZ and misconduct

outlined above, the Plaintiff could not and would not have been charged with any criminal

offenses.

       14.     As a result of the DEFENDANT’S fabricated evidence, the Plaintiff was deprived

of his liberty and incarcerated in the Cook County Department of Corrections.

       15.     On April 6, 2016, the Plaintiff was found not guilty of all criminal charges

initiated by DEFENDANT ORTIZ.

                                       COUNT I
                    (Fourth Amendment Claim for Deprivation of Liberty)

       16.     Plaintiff repeats, re-alleges and incorporates by reference the factual allegations

above as fully set forth herein.

       17.     As a result of evidence fabricated by the DEFENDANT, the Plaintiff was

deprived of his liberty and was incarcerated in the Cook County Department of Corrections.

       18.     But for the misconduct of the DEFENDANT outlined above, the Plaintiff would

not have suffered a deprivation of his liberty.




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       19.       The misconduct of the DEFENDANT outlined above proximately caused injury

to the Plaintiff, including, but not limited to prolonged incarceration, humiliation, embarrassment

and severe emotional distress related to his incarceration and prosecution for false criminal

charges fabricated by the Defendant.

                               COUNT II – INDEMNIFICATION
                              (Against Defendant City of Chicago)

       20.       Plaintiff realleges and reincorporates Paragraphs 1 through 19 above as fully

stated herein.

       21.       Pursuant to 745 ILCS 10/9-102, City of Chicago must indemnify any judgment

against Defendants Chicago Police Officer Wilfredo Ortiz in this action.



                                    REQUEST FOR RELIEF

       22.       Plaintiff, MICHAEL WILLIAMSON, respectfully requests that the Court:

                 a.     Enter a judgment in his favor and against the Defendant;

                 b.     Award compensatory damages against the Defendant;

                 c.     Award attorney’s fees against the Defendant;

                 d.     Award punitive damages against the Defendant; and

                 e.     Grant any other relief this Court deems just and appropriate.




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                                         JURY DEMAND

       Plaintiff, MICHAEL WILLIAMSON, demands a trial by jury under the Federal Rule of

Civil Procedure 38(b) on all issues so triable.



                                              Respectfully submitted,


                                              /s/Robert Robertson_______
                                              Robert Robertson
                                              One of Plaintiff’s Attorneys




Robert Robertson
Robertson Duric
One N. LaSalle Street, Suite 300
Chicago, IL 60602
(312) 223-8600

Jeffrey J. Neslund
Law Offices of Jeffrey J. Neslund
20 N. Wacker Drive, Suite 3710
Chicago, IL 60606
(312) 223-1100

Michael D. Robbins
Michael D. Robbins & Associates

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20 N. Wacker Drive, Suite 3710
Chicago, IL 60606
(312) 899-8000




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